

People v Valera (2025 NY Slip Op 01067)





People v Valera


2025 NY Slip Op 01067


Decided on February 25, 2025


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: February 25, 2025

Before: Kern, J.P., Friedman, Kapnick, Rodriguez, O'Neill Levy, JJ. 


Ind. No. 931/17, 3552/17|Appeal No. 3770|Case No. 2020-04242, 2021-03112|

[*1]The People of The State of New York, Respondent,
vPedro Valera, Defendant-Appellant.


Caprice R. Jenerson, Office of The Appellate Defender, New York (Rachel Lindy of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Michael D. Tarbutton of counsel), for respondent.



An appeal having been taken to this Court by the above-named appellant from a judgment of the Supreme Court, New York County (Mennin, Felicia A., J.), rendered September 16, 2020,
Said appeal having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentence not excessive,
It is unanimously ordered that the judgment so appealed from be and the same is hereby affirmed.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: February 25, 2025
Counsel for appellant is referred to
§ 606.5, Rules of the Appellate Division,
First Department.








